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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA, et al.,

                                   Plaintiffs,
                     v.                                    Case No: 5:21-cv-01136-F


JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States, et al.,


                                   Defendants.


                                           ERRATA
      Plaintiffs file herewith two exhibits to the December 15, 2021 Declaration of The

Acting Adjutant General, Brigadier General Thomas H. Mancino (ECF No. 27), which

were inadvertently excluded, but are U.S. government documents and therefore were

already in the possession of defendants.

       Brigadier General Mancino’s Declaration is being re-filed in order that the Court

has access to the entire document in one docket entry.

                                                 Respectfully submitted,
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                                         Oklahoma; J. Kevin Stitt, Governor of
                                         Oklahoma; John M. O’Connor, Attorney
                                         General of Oklahoma; and 16 Oklahoma
                                         Air National Guard Members

Dated: December 20, 2021




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                 IN THE UNITED STATES DISTRICT COURT
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STATE OF OKLAHOMA, et al.,


                                 Plaintiffs,
                    V.                                   Case No: 5:21-cv-01136-F


JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States, et al.,


                                 Defendants.


                   Declaration of The Acting Adjutant General,
                     Brigadier General Thomas H. Mancino

  I. I am Thomas H. Mancino. I received my undergraduate degree from Oklahoma
     State University in 1988. I graduated from the University of Oklahoma College of
     Law in 1997. I also attended the Harvard Kennedy School as a National Security
     Fellow in 2013-14.

  2. I currently serve as the Acting Adjutant General of Oklahoma. I have held this post
     since November 2021. Prior to holding this position, I served as Assistant Adjutant
     General in Oklahoma City, Oklahoma. I held that position from September 2019
     through November 2021.

  3. Prior to holding the position of Assistant Adjutant General, I served as Commander,
     90th Troop Command, Oklahoma City, Oklahoma. I did so from July 2018 through
     September 2019.

  4. I have been informed by the United States Department of Defense that Exec. Order
     No. 14043, Requiring Coronavirus Disease 2019 Vaccination for Federal
     Employees, 86 Fed. Reg. 50989 (Sept. 9, 2021) ("EO 14043"), applies to Oklahoma
     Guard members.

  5. Many of the men and women who serve in the Oklahoma Air National Guard face
     imminent, irreparable harm from failing to comply with the Department of Defense
     ("DoD") Vaccine Mandate. As a practical matter, the DoD is using its control over
     the apparatus of military pay to unconstitutionally "govern" the Oklahoma National
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   Guard ("OKNG"). These actions are against the express orders of the OKNG's
   Commander in Chief ("CnC"), Governor Kevin J. Stitt.

6. The DoD is unlawfully and unconsitutionaly using its control of the mechanism of
   military pay to constructively terminate airmen without proper consideration for the
   rule of law or due process. As of December 1, no pay will be authorized for Air
   National Guard members who are unvaccinated.

7. The inability to pay Airmen, despite having the congressionaly appropriated funds
   and legislative authority to do so, will result in constructive termination of their
   employment, given these Airmen will have to work for free or suffer discharge.
   This could result in a negative characterization of their service that has lifetime
   implications. Additionally, they will be subject to immense repercussions, including
   the recoupment of training dollars, loss of educational benefits, and more.

8. The deadline for vaccination for Oklahoma Air National Guard members varies.
   The Oklahoma Military Department ("OMD") is an agency of the government of
   the State of Oklahoma. It is staffed by a complex interconnected web of employees
   and military members in a number of different capacities, including:

   (a) Title 5 Federal Technicians: These are non-uniformed full time DoD civilian
       employees. Their service is not tied to military service. Their deadline for
       vaccination was November 22.
   (b) Title 32 Technicians: These are uniformed full time DoD civilian employees
       under the control of the Governor under Title 32. Even though these employees
       wear a uniform on a daily basis, they are not in a full-time military status.
       However, their employment is conditional on them maintaining their military
       status. This class of employees suffers irreparable harm from the vaccine
       mandate on employees. If an employee in this class is forced out of her military
       membership, she will also lose her civilian job. For Title 32 Technicians, the
       deadline for vaccination as federal employees was November 22 or, as military
       members, is December 31.
   (c) Title 32 Active Guard and Reserve ("AGR"): AGRs are full time uniformed
       service members. They are analogous to active-duty military personnel but are
       appointed by and under the command of the Governor. Their deadline for
       vaccination is December 31.                               ·
   (d) Drill Status Guardsmen ("DSG"): DSGs make up the bulk of the military
       membership of the Oklahoma National Guard. They are traditional national
       guardsmen serving at a minimum, one weekend a month and two weeks in the
       summer. Their deadline for vaccination is December 31.



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9. I have been made aware that the United States Secretary of Defense, Lloyd Austin
   wrote to Governor J. Kevin Stitt of Oklahoma on November 29 of this year
   suggesting that the President has the authority under Title 32, specifically 32 U.S.C.
   § 110, to mandate this vaccine on members of the Oklahoma National Guard. See
   Letter from Sec. Austin to Gov. Stitt, Nov. 29, 2021. For reasons that follow in this
   exhibit, and with all respect to the Secretary, that invocation as statutory authority
   is misplaced and inaccurate.

10. Pursuant to Secretary of the Air Force, Frank Kendall's Memorandum dated
    December 7, 2021, and titled Supplemental Coronavirus Disease 2019 Vaccination
    Policy, many Oklahoma Guard members would be classified by December 31,
    2021, as having declined to be vaccinated. That would lead to their inability to be
    paid and eventually their discharge from service. Such a course of action would be
    unlawful and inflict irreparable unconstitutional harm to the discharged Guard
    members as well as the prerogatives and sovereignty of the State of Oklahoma.
    Moreover, the vaccine mandate's imposition on Oklahoma National Guard
    members directly commandeers the resources of the State of Oklahoma and the
    Governor as CnC.

11. My conclusions are based on the following principles: (1) Guard members not
    mobilized under Title 10 orders are under Title 32 authority, under which it is the
    Governor of Oklahoma who is the Commander-in-Chief of the Oklahoma National
    Guard; (2) Per my order (at Governor Stitt's direction), no Oklahoma National
    Guard member would be forced to be vaccinated against COVID-19; and (3) Per
    my order (at Governor Stitt's direction), no adverse actions would be taken against
    any Oklahoma National Guard member for his or her failure to be vaccinated against
    COVID-19.

12. Under Title 32, Congress established a dual framework for the National Guard. See,
    e.g., 32 U.S.C. § 325. The States were authorized to receive federal funding in
    exchange for being made available to the federal government when called into
    active duty by the President of the United States, and training to a common standard.

13 . Under Title 32, the Oklahoma National Guard is a state-controlled and federally-
     funded entity and takes orders from the Governor of Oklahoma and his designated
     chain of command. The Adjutant General is that designee in Oklahoma. Only when
     mobilized by the President under Title IO does the Oklahoma National Guard take
     its orders from the President and his designated chain of command.

14. Until a Guard member is mobilized by the President under Title I 0, he or she follows
    the orders of the Governor of Oklahoma, who has declined to mandate the COVID-
    19 vaccine for the Oklahoma National Guard. Once mobilized under Title 10,



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   Guard members are subject to all Title 10-based orders until they return to the
   State's Title 32 authority.

15. It is my opinion, as well as the opinions of multiple National Guard Judge Advocate
    General ("JAG") officers with whom I have consulted, and the findings of a written
    ethics opinion, that this was a lawful order of the Governor and must be followed
    while the National Guard was under Title 32 authority.

16. That is why I previously have publicly stated: "If [Oklahoma National Guard
    members] are not mobilized on Title 10 orders, the only entity that can give
    [National Guard members] a 'lawful' order - that is an order backed by the authority
    of law - is the Governor and his designated State chain of command. That 'law' is
    Title 32 U.S. code." Statement on COVID vaccination policy, Oklahoma National
    Guard, https://ok.ng.mil/News/Article/2842627 /statement-on-covid-vaccination-
    policy/. I added: "This [concept] is easily seen by the fact that the [Uniform Code
    of Military Justice (UCMJ)] does not apply to [National Guard members] in Title
    32 status. Instead, [National Guard members] are governed by the Oklahoma Code
    of Military Justice (OCMJ)." Id.

17. It is a well-established legal principle that Governors of the States are the
    Commanders-in-Chief of their National Guards. See Gilbert v. United States, 165
    F.3d 470, 473 (6th Cir. 1999). Unless and until Guard members are called into
    federal service, they remain state officers with the governors as their commanders-
    in-chief. See id. That is why the United States Supreme Court, in Perpich v. Dep 't
    of Defense, 496 U.S. 334, 345 (1990), declared that "unless and until ordered to
    active duty in the Army, [Guardsmen] retained their status as members of a separate
    State Guard unit."

18. It follows-and has long been thus understood-that "[e]xcept when employed in
    the service of the United States, officers of the National Guard continue to be
    officers of the state and not officers of the United States or of the Military
    Establishment of the United States." United States v. Dern, 74 F.2d 485,487 (D.C.
    Cir. 1934).

19. The Tenth Circuit observed almost a quarter century ago that "[g]uardsmen do not
    become part of the Army itself until such time as they may be ordered into active
    federal duty by an official acting under a grant of statutory authority from
    Congress." United States v. Hutchings, 127 F.3d 1255, 1258 (1997).

20. It is only when "that triggering event occurs [does] a Guardsman become[] a part of
    the Army and lose his status as a state serviceman." Id.; see generally Steven B.
    Rich, The National Guard, Drug Interdiction and Counterdrug Activities and Posse



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   Comitatus: The Meaning and Implications of "in Federal Service," 1994 Army
   Law. 16.

21. That the federal government might fund any part of the compensation of National
    Guard members or the National Guard's budget is legally irrelevant, as the Title
    10/Title 32 distinction is sacrosanct.

22. As the Sixth Circuit noted in Gilbert, "[t]he issue of status depends on command
    and control and not on whether: state or federal benefits apply; state or federal funds
    are being used; the authority for the duty lies in state or federal law; or any
    combination thereof." 165 F.3d at 473 (cleaned up). In fact, the Gilbert court stated
    that "[a]lthough National Guard members receive federal pay and allowances ...
    while performing full-time National Guard Duty, they remain members of the state
    National Guard and not members on active duty in federal service with the United
    States [Department of Defense]." Id. (emphasis added).

23. This prevailing legal view is also consistent with, and required by, the Posse
   Comitatus Act ("PCA"), 18 U.S.C. § 1385, which states: "Whoever, except in cases
   and under circumstances expressly authorized by the Constitution or Act of
   Congress, willfully uses any part of the Army or the Air Force as a posse comitatus
   or otherwise to execute the laws shall be fined not more than $10,000 or imprisoned
   not more than two years, or both."

24. The PCA kept the state and federal chains of command distinct and separate to
   protect the sovereignty of the States but also to stop the military from "aid[ing] civil
   authorities in the enforcement of civilian laws." Gilbert, 165 F.3d at 472. An older
   version of the current PCA was enacted by Congress in 1878 as a reaction to military
   abuses occurring in some parts of the South in the Civil War's immediate aftermath.
   See id.; United States v. Hartley, 486 F. Supp. 1348, 1356 (M.D. Fla. 1980). "The
   [PCA] reflects a concern, which antedates the Revolution, about the dangers to
   individual freedom and liberty posed by use of a standing army to keep civil peace."
   Gilbert, 165 F .3d at 4 72 (citing David E. Engdahl, Soldiers, Riots and Revolution:
   The Law and History of Military Troops in Civil Disorders, 57 Iowa L. Rev. 1
   (1971)).

25. Nor does anything else in the U.S. Code authorize this executive branch intrusion
    into the Oklahoma National Guard. 32 U.S.C. § 108 only permits the President to
    deprive "the National Guard [of a State] ... from receiving money or any other aid,
    benefit, or privilege authorized by law" if that State has violated some pertinent
    statutory or regulatory provision covered by Title 32. See id.




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26. Furthermore, contrary to Secretary Austin's suggestion in his November 29 letter to
    Governor Stitt, 32 U.S.C. § 110-"The President shall prescribe regulations, and
    issue orders, necessary to organize, discipline, and govern the National Guard"-
    this section does not authorize vaccine mandates imposed on National Guard
    members either. Neither the ordinary, contemporary meaning of "organize" nor that
    of "discipline" has anything to do with the imposition of a vaccine mandate. Nor
    still does "govern" in this context because a vaccine mandate is not "necessary," as
    Section 110 requires that it be for the functioning of the National Guard. This is
    because, from coast to coast, National Guards have been functioning without
    interruption in service or quality for almost two years since the COVID-19 outbreak.
    Another reason is that the Supreme Court repeatedly has admonished courts not to
    assume that Congress implicitly has delegated questions of "'deep economic and
    political significance"' to the Executive Branch. Ala. Ass 'n of Realtors v. Dep 't of
    Health & Human Servs., 141 S. Ct. 2485, 2489 (2021) (quoting Utility Air
    Regulatory Grp. v. EPA, 573 U.S. 302,324 (2014)). In fact, a clear statement from
    Congress is required before the courts are permitted to so infer. See FDA v. Brown
    & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000). And finally, the
    "govern[ance]" of which Section 108 speaks can pertain only to the National Guard
    when it is federally mobilized. That would be consistent with the judicial duty to
    avoid serious constitutional questions, see Jones v. United States, 529 U.S. 848, 858
    (2000); United States v. Jin Fuey Moy, 241 U.S. 394, 401 (1916), like the grave
    federalism questions a contrary approach would trigger; as well as to interpret this
    clause of Section 108 most naturally and in harmony with the rest of the statute, see
    Robinson v. Shell Oil Co., 519 U.S. 337,340 (1997); United States v. Ron Pair
    Enterprises, Inc., 489 U.S. 235, 240 (1989).

27. By excerting consititional and legal authorities against the State of Oklahoma's
    National Guard, the Executive Branch are aggressively encroaching on the
    sovereignty, laws, public policy, and resources of the State of Oklahoma. The harm
    is irreparable because the State and it's Governor, does not wish to have its
    resources-here, the National Guard-subject to the vaccine mandate. Such forced
    federal commandeering risks turning Oklahoma into a vassal state, whose resources,
    including its National Guard, are at the Executive's disposal without being
    mobilized under Title 10 in violation of the constition. That irreparable harm will
    be finalized no later than December 31, 2021, thus necessitating this Court's
    expeditious intervention.




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       Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury t t the foregoing is
true and correct. Executed on December 15, 2021.

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                                      The Acting Adjutant Gen ral of Oklahoma




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